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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


 SANTA FE DREAMERS PROJECT, et al.,

                   Plaintiffs,

          v.                                      Case No. 1:20-cv-02465-RBW

 CHAD WOLF, et al.,

                   Defendants.


                DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

       Pursuant to Federal Rule of Civil Procedure 56(a), Defendants respectfully move for

summary judgment on all claims in the above-captioned matter. The bases for this Motion are set

forth in the accompanying Memorandum of Points and Authorities in Support of Defendants’

Motion for Summary Judgment and in Opposition to Plaintiffs’ Motion for Summary Judgment.

A proposed order is also attached.

Dated: September 25, 2020                          Respectfully submitted,

                                                   JEFFREY BOSSERT CLARK
                                                   Acting Assistant Attorney General

                                                   BRAD P. ROSENBERG
                                                   Assistant Branch Director

                                                   /s/ Rachael L. Westmoreland
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